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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                                     www.flsb.uscourts.gov

In re:                                                            Case No.: 24-21209-LMI

SHIFTPIXY, INC.,1                                                 Chapter 7
                                                                  (Jointly Administered)
         Debtors.                                             /

    CHAPTER 7 TRUSTEE’S EX-PARTE MOTION TO ESTABLISH LIMITED NOTICE

         Jacqueline Calderin, not individually, but in her capacity as the Chapter 7 Trustee

(the “Trustee”), of the bankruptcy estate of SHIFTPIXY, INC. and its jointly administered

affiliates (collectively referred to as the “Debtor”), by and through undersigned counsel, and

pursuant to Bankruptcy Rule 2002(h) of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), files the Chapter 7 Trustee’s Motion to Establish Limited Notice (the

“Motion”). The Motion seeks entry of an Order limiting notice in the Chapter 7 case as more

fully described herein.        In support of this Motion, the Trustee respectfully represents the

following:

                                              BACKGROUND

         1.      These matters were initiated by Shiftpixy, Inc., Shiftpixy Staffing, Inc. and

ReThink Human Capital Management, Inc. upon the filing of voluntary petitions for relief under

Chapter 11 of the Bankruptcy Code in this Court on October 28, 2024.

         2.      On October 30, 2024, the Court entered an Order (i) Directing Joint

Administration of the Debtors’ Related Chapter 11 Cases and (ii) Granting Related Relief [ECF#

10].



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  The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management,
Inc. The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.




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        3.      The notice of meeting of creditors under section 341 of the Bankruptcy Code

established January 6, 2025, as the Chapter 11 claims bar date (the “Chapter 11 Claims Bar

Date”) [ECF# 13].

        4.      On January 31, 2025, the Court entered the Order Granting Expedited Motion of

the Debtors for Entry of an Order Converting the Debtors’ Chapter 11 Cases to Cases Under

Chapter 7 of the Bankruptcy Code Upon the Closing of the Same [ECF No. 109] [ECF# 179]

(the “Conversion Order”).

        5.      Subsequently, Jacqueline Calderin was appointed the Chapter 7 Trustee (the

Trustee”) in the above styled matter, and the meeting of creditors under section 341 of the

Bankruptcy Code is currently scheduled to be held on March 4, 2025 at 1:30 p.m., and April 11,

2025 is the Chapter 7 claims bar date (the “Chapter 7 Claims Bar Date”) [ECF# 182].

                                  Relief Requested and Bases Therefore

        6.      In order to conserve costs, the Trustee wishes to limit service pursuant to

Bankruptcy Rule 2002 (h) to only creditors who have filed a proof of claim in these cases and

other interested parties.

        7.      Notwithstanding the foregoing, the Trustee shall continue to provide notice,

where required to the United States and its agencies via CM/ECF or U.S. Mail as required by

Bankruptcy Rule 2002(j) and this Court’s local rules.

        8.      Bankruptcy Rule 2002(h) provides in pertinent part, that (after 70 days following

the order for relief, which in this case has passed) the court may direct that all notices required

under [Bankruptcy Rule 2002(a)] be mailed only to:

                a. the Debtor;

                b. the trustee;


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                     c. all indenture trustees;

                     d. creditors that hold claims for which proofs of claim have been filed; and

                     e. creditors, if any, that are still permitted to file claims because an extension
                        was granted under Rule 3002(c)(1) or (c)(2).2

           9.        Additionally, any Party who previously requested notice under Local Rule 2002

will be included.

           10.       Establishing limited notice as set forth above is in the best interests of the estate

because notice to all creditors and parties in interest in excess of those on the above limited list

would impose a significant administrative and economic burden to the estate.

           11.       The adoption of the proposed limited notice procedure is necessary and

appropriate to ensure adequate representation of the interests of the holders of timely filed claims

in this case.

                                          Justification for Ex Parte Relief

           12.       The Trustee requests that the Court consider this matter without a formal hearing

given that no interested party will be prejudiced by the relief sought herein and to conserve costs.

The relief requested herein will not prejudice creditors of the estate or other interested parties, as

under the limited notice procedures outline above, such parties shall continue to receive notices

as required under Bankruptcy Rule 2002. Moreover, any creditor who has not filed a claim on or

before the Chapter 11 Claims Bar Date or the Chapter 7 Claims Bar Date (unless such creditor is

still permitted to file claims because an extension was granted under Rule 3002(c)(1) or (c)(2))

has been deemed to waive any claims or interest against the estate.

           13.       For the foregoing reasons, the Trustee requests that the Court limit service to

creditors in accordance with Bankruptcy Rule 2002(h).


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    The Trustee believes that there are no such creditors in this case.
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                                          Reservation of Rights

       14.     Nothing herein is intended to constitute a request to assume any contract or

agreement under § 365 in the Bankruptcy Code, nor is anything herein intended to constitute a

request to create any rights in favor of, or to enhance the status of any claim held by, any

personal entity. Moreover, nothing herein is intended to constitute a request to honor every pre-

petition contract to which the debtor is a party.

       WHEREFORE, the Trustee respectfully requests that this Court enter an Order (a)

granting this Motion; (b) limiting service to creditors pursuant to Rule 2002(h) as well as other

interested parties as set forth herein; and (c) granting such other relief as the Court deems just

and proper.

                                                        AGENTIS PLLC
                                                        Counsel for Chapter 7 Trustee
                                                        45 Almeria Avenue
                                                        Coral Gables, Florida 33134
                                                        T. 305.722.2002
                                                        www.agentislaw.com

                                                        By:    /s/ Jesse R. Cloyd
                                                               Jesse R. Cloyd
                                                               Florida Bar No.: 58388
                                                               jrc@agentislaw.com

                                 CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that a true and correct copy of the foregoing was served was
served by transmission of Notices of Electronic Filing generated by CM/ECF to those parties
registered to receive electronic notices of filing in this case on February 27, 2025.
                                                        By:    /s/ Jesse R. Cloyd
                                                               Jesse R. Cloyd
                                                               Florida Bar No.: 58388
                                                               jrc@agentislaw.com




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                                    Exhibit “A”
                                  Proposed Order




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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                                     www.flsb.uscourts.gov

In re:                                                            Case No.: 24-21209-LMI

SHIFTPIXY, INC.,1                                                 Chapter 7
                                                                  (Jointly Administered)
         Debtors.                                             /

                            ORDER ESTABLISHING LIMITED
                    NOTICE PURSUANT TO BANKRUPTCY RULE 2002(h)

         THIS MATTER came before the Court on the ex parte motion by Jacqueline Calderin

(the “Trustee”) to establish limited notice pursuant to Bankruptcy Rule 2002(h) (the




1
  The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management,
Inc. The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.
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“Motion”) [ECF# 42].         The Court, having considered the Motion, and finding good cause

therefor, does ORDER that:

        1.       The Motion is GRANTED.

        2.       Pursuant to Bankruptcy Rule 2002(h), matters in thess cases requiring notice

pursuant to Bankruptcy Rule (2002)(a) shall be limited to:

                 a. the debtor;

                 b. the trustee;

                 c. all indenture trustees;

                 d. creditors that hold claims for which proofs of claim have been filed;

                 e. creditors, if any, that are still permitted to file claims because an extension

                     was granted under Rule 3002(c)(1) or (c)(2); and

                 f. any Party who previously requested notice under Local Rule 2002.

        3.       Notwithstanding the foregoing, the Trustee shall continue to provide notice,

where required to the United States and its agencies via CM /ECF or U.S. Mail as required by

Bankruptcy Rule 2002(j) and this Court’s local rules, in addition to those parties and attorneys

who have formally requested notice by filing with the court a notice of appearance or request for

service of notices and papers in this case.

                                                      ###
Submitted by:
Jesse R. Cloyd
Florida Bar No.: 58388
jrc@agentislaw.com
Agentis PLLC
Counsel for Chapter 7 Trustee
45 Almeria Avenue
Coral Gables, Florida 33134
T. 305.722.2002
Copy to: Attorney Cloyd, who is directed to serve a conforming copy herein upon all interested parties entitled to
notice in this case.




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